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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA
         v.
                                                               Criminal Action No. 22-299 (CKK)
    SHAWNDALE CHILCOAT and
    DONALD CHILCOAT,
              Defendants.


                                                 ORDER
                                             (August 27, 2024)

        On August 27, 2024, the Court received a request from Defendant Shawndale Chilcoat for

leave to file, pro se, a [165] “Motion to Remove Privately Paid Counsel, Assert Pro Se

Representation, and Challenge the Sealing of the Case” (the “Motion” or “Mot.”). The Court

granted leave to file and now DENIES IN PART and HOLDS IN ABEYANCE IN PART

Defendant Mrs. Chilcoat’s Motion.

        As it stands, Mrs. Chilcoat is represented by counsel. See Order, ECF No. 135. And as a

general matter, this Court “need not consider motions filed pro se while the movant is represented

by counsel.” Pinson v. U.S. Dep’t of Just., 273 F. Supp. 3d 1, 15 (D.D.C. 2017) (RC); see also

McKaskle v. Wiggins, 465 U.S. 168, 183 (1984) (holding that “Faretta does not require a trial

judge to permit ‘hybrid’ representation” with both represented and pro se features in a criminal

trial). But in light of her counsel’s [158] Joint Motion to Withdraw, 1 the apparent lack of

communication between Mrs. Chilcoat and her counsel, see Minute Order, Aug. 19, 2024, and the

content of Mrs. Chilcoat’s latest [165] Motion, the Court has made an exception and now considers

Mrs. Chilcoat’s motion.


1
 The Court held defense counsel’s motion in abeyance pending the upcoming status hearing on August 29, 2024, at
which time the Court “can determine the status of Defense Counsel’s representation of both Defendants and
Defendants’ intended course of action moving forward.” Minute Order, Aug. 19, 2024.
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         The [165] Motion raises several issues of concern to Mrs. Chilcoat and requests four forms

of interrelated relief. The Court addresses each in turn.

         First, Mrs. Chilcoat requests that the Court “[i]mmediately remove” her attorneys from the

case and allow her to proceed with her defense pro se. Mot., ECF No. 165 at 7. But as Mrs.

Chilcoat knows from experience, the Court cannot do so immediately. See Minute Order, Jan. 18,

2023 (ordering Mrs. Chilcoat “to appear for a Faretta hearing” following a motion to withdraw). 2

A criminal defendant may “elect to represent himself,” but “that right ‘is not absolute.’” United

States v. Wright, 922 F.3d 183, 188 (D.C. Cir. 2019) (quoting Indiana v. Edwards, 554 U.S. 164,

171 (2008)). Before proceeding pro se, Mrs. Chilcoat must “demonstrate the competence required

to waive the right to counsel,” and the Court must conduct a colloquy with Mrs. Chilcoat to ensure

her waiver is “knowing, intelligent, and voluntary.” Id.; see also Godinez v. Moran, 509 U.S. 389

(1993); Faretta v. California, 422 U.S. 806 (1975). Neither precondition has yet occurred.

Accordingly, the Court DENIES Mrs. Chilcoat’s request to immediately remove her attorneys.

Mrs. Chilcoat should be prepared to discuss her intent and competence to waive her right to counsel

at the upcoming status hearing.

         Second, Mrs. Chilcoat requests that the Court “[a]ddress” perceived procedural

deficiencies in the Government’s prosecution of this matter.                     Mot., ECF No. 165 at 7–8.

Specifically, Mrs. Chilcoat takes issue with the fact that the Government has been serving her

attorneys rather than “directly serv[ing] her.” Id. at 3. As a result, Mrs. Chilcoat argues her ability

to respond to now-pending Government motions has been impeded. Id. at 5–6. Whether and how

Mrs. Chilcoat will defend herself pro se, the appropriate briefing schedule for any now-pending

motions by the Government, and the status of the twenty pending requests for leave to file various


2
  Ultimately, no Faretta colloquy occurred because the Court later received representations “that [Mrs. Chilcoat] no
longer want[ed] to proceed pro se.” Minute Order, February 2, 2023.
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other pretrial motions by Mrs. Chilcoat will be subjects for discussion at the upcoming status

hearing on August 29, 2024. See Minute Order, Aug. 23, 2024. For that reason, the Court HOLDS

IN ABEYANCE Mrs. Chilcoat’s requests on this issue until the upcoming status hearing.

       Third, Mrs. Chilcoat requests that the Court “[c]ancel the August 29, 2024, in-person

hearing and stay all proceedings” until her other requests are resolved and “subject-matter

jurisdiction is properly established.” Mot., ECF No. 165 at 8. As an initial matter, the Court has

already established that it has subject-matter jurisdiction over this case. See Order, ECF No. 43;

Mem. Op., ECF No. 44 at 7–8. Moreover, the Court has repeatedly stressed the practical necessity

of the upcoming status hearing. See Minute Order, Aug. 19, 2024; Order, ECF No. 163 at 2;

Minute Order, Aug. 23, 2024. And as this Order makes clear, many of the issues Mrs. Chilcoat

raises in her instant Motion can—and will—be addressed at that hearing. Accordingly, the Court

DENIES Mrs. Chilcoat’s request that the Court cancel the upcoming hearing.

       Finally, Mrs. Chilcoat requests that the Court “provide a clear justification and explanation

for the decision to seal the case.” Mot., ECF No. 165 at 5. This request appears to stem from a

misunderstanding of the Court’s [163] Order denying Mrs. Chilcoat’s earlier [162] Motion for

Virtual Hearing Accommodation. See id. at 4–5 (articulating Mrs. Chilcoat’s “understanding,

based on the executive orders and relevant law, that cases may only be sealed when national

security is at stake”). Therein, the Court explained that “it anticipates that, given the sensitive

nature of the attorney-client issues to be discussed, portions of the [upcoming status] hearing will

need to be conducted ex parte and on a sealed record.” Order, ECF No. 163 at 2. That is, the

Court anticipates that it may need to exclude the Government and the public from portions of the

status hearing to protect Mrs. Chilcoat’s attorney-client privilege and the confidentiality of her

communications with her attorneys. The Court did not “deci[de] to seal the proceedings” as a
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whole on the basis of “national security concerns” or any Executive Order as Mrs. Chilcoat

suggests. See Mot., ECF No. 165 at 4–5. If Mrs. Chilcoat would prefer not to avail herself of the

opportunity to exclude the Government and the public from conversations with her attorneys, she

may revisit the issue at the upcoming hearing. See United States v. Rodriguez, No. 23-cr-392,

2024 WL 1513473, at *1 (D.D.C. Apr. 8, 2024) (JEB) (“The responsibility for protecting the

attorney-client privilege lies with the holder . . . .”). The Court thus HOLDS IN ABEYANCE

Mrs. Chilcoat’s requests on this issue until the upcoming status hearing.

       Accordingly, Defendant Shawndale Chilcoat’s [165] Motion is DENIED IN PART and

HELD IN ABEYANCE IN PART.

       The Clerk of Court is respectfully directed to send a copy of this Order to Defendant

Shawndale Chilcoat’s and Defendant Donald Chilcoat’s address of record by overnight mail. In

an abundance of caution, and in light of the time-sensitivity of some of Mrs. Chilcoat’s requests,

the Court will also arrange for a courtesy copy of this Order to be delivered via email.

       SO ORDERED.



Date: August 27, 2024

                                                                      /s/
                                                     COLLEEN KOLLAR-KOTELLY
                                                     United States District Judge
